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                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

        BARDON, INC., d/b/a AGGREGATE                        )
        INDUSTRIES                                           )
        Petitioner/Cross-Respondent                          )
                                                             )
        v.                                                   ) Consolidated Case Nos.
                                                             ) 22-1340 & 22-1421
        NATIONAL LABOR RELATIONS BOARD                       )
        Respondent/Cross-Petitioner                          )
                                                             )
        and                                                  )
                                                             )
        INTERNATIONAL BROTHERHOOD OF                         )
        BOILERMAKERS, IRON SHIP BUILDERS,                    )
        BLACKSMITHS, FORGERS AND HELPERS,                    )
        AFL-CIO, CLC                                         )
        Intervenor                                           )

                   UNOPPOSED MOTION FOR 14-DAY EXTENSION OF TIME
                                 TO FILE BRIEF

        To the Honorable, the Judges of the United States
         Court of Appeals for the Fourth Circuit:

              The National Labor Relations Board (“the Board”), by its Deputy Associate

        General Counsel, and with the consent of Bardon, Inc. d/b/a Aggregate Industries

        (“the Company”) and International Brotherhood of Boilermakers, Iron Ship

        Builders, Blacksmiths, Forgers and Helpers, AFL–CIO, CLC (“the Union”),

        respectfully moves the Court to grant a 14-day extension of time from August 12,

        2022, to and including August 26, 2022, for filing its brief in this case and to
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        extend the remainder of the briefing schedule accordingly. In support of its

        motion, the Board shows as follows:

               1.     On May 13, 2022, the Court issued an initial briefing schedule in this

        case with the Company’s opening brief due on June 22 and the Board’s brief due

        on July 22.

               2.     On June 17, the Company filed an unopposed motion for a 21-day

        extension of the briefing schedule. The Court granted the Company’s motion,

        extending the briefing schedule with the Company’s opening brief due on July 13

        and the Board’s brief due on August 12.

               3.     On July 13, the Company filed its opening brief.

               4.     Brady Francisco-FitzMaurice, the Board attorney with primary

        responsibility for drafting the Board’s brief in this case, is unexpectedly out of the

        office and on leave due to COVID-19 and is unable to complete preparation of the

        Board by the current due date of August 12.

               5.     The Board has not previously requested an extension for filing its

        brief in this case.

               6.     Oral argument has not been scheduled.

               7.     The Board has contacted counsel for the Company and the Union who

        have stated that they do not oppose this motion.




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              WHEREFORE, the Board respectfully requests that the Court grant this

        unopposed motion and extend the time for filing its brief to and including August

        26, 2022 and extend the remainder of the briefing schedule accordingly.



                                       Respectfully submitted,

                                       /s/ Ruth E. Burdick
                                       Ruth E. Burdick
                                       Deputy Associate General Counsel
                                       NATIONAL LABOR RELATIONS BOARD
                                       1015 Half Street, SE
                                       Washington, DC 20570
                                       (202) 273-2960


        Dated at Washington, DC
        this 8th day of August 2022




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                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

        BARDON, INC., d/b/a AGGREGATE                       )
        INDUSTRIES                                          )
        Petitioner/Cross-Respondent                         )
                                                            )
        v.                                                  ) Consolidated Case Nos.
                                                            ) 22-1340 & 22-1421
        NATIONAL LABOR RELATIONS BOARD                      )
        Respondent/Cross-Applicant                          )
                                                            )
        and                                                 )
                                                            )
        INTERNATIONAL BROTHERHOOD OF                        )
        BOILERMAKERS, IRON SHIP BUILDERS,                   )
        BLACKSMITHS, FORGERS AND HELPERS,                   )
        AFL-CIO, CLC                                        )
        Intervenor                                          )

                               CERTIFICATE OF COMPLIANCE

              Pursuant to Federal Rule of Appellate Procedure 27(d)(2), the Board

        certifies that its document contains 303 words of proportionally spaced, 14-point

        type, and that the word processing system used was Microsoft Word 2016.

                                        /s/ Ruth E. Burdick
                                        Ruth E. Burdick
                                        Deputy Associate General Counsel
                                        NATIONAL LABOR RELATIONS BOARD
                                        1015 Half Street, SE
                                        Washington, DC 20570
                                        (202) 273-2960

        Dated at Washington, DC
        this 8th day of August 2022



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                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

        BARDON, INC., d/b/a AGGREGATE                       )
        INDUSTRIES                                          )
        Petitioner/Cross-Respondent                         )
                                                            )
        v.                                                  ) Consolidated Case Nos.
                                                            ) 22-1340 & 22-1421
        NATIONAL LABOR RELATIONS BOARD                      )
        Respondent/Cross-Applicant                          )
                                                            )
        and                                                 )
                                                            )
        INTERNATIONAL BROTHERHOOD OF                        )
        BOILERMAKERS, IRON SHIP BUILDERS,                   )
        BLACKSMITHS, FORGERS AND HELPERS,                   )
        AFL-CIO, CLC                                        )
        Intervenor                                          )

                                   CERTIFICATE OF SERVICE
              I hereby certify that August 8th, 2022, I filed the foregoing document with

        the Clerk of the Court for the United States Court of Appeals for the Fourth Circuit

        by using the CM/ECF system. I certify that the foregoing document was served on

        all parties or their counsel of record through the appellate CM/ECF system.

                                        /s/ Ruth E. Burdick
                                        Ruth E. Burdick
                                        Deputy Associate General Counsel
                                        NATIONAL LABOR RELATIONS BOARD
                                        1015 Half Street, SE
                                        Washington, DC 20570
                                        (202) 273-2960

        Dated at Washington, DC
        this 8th day of August 2022

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